                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK



ROBERT FARINA,                                      Civil Action No. 1:20-cv-09104-AKH

                     Plaintiff,

       v.

MYOKARDIA, INC., SUNIL AGARWAL,
MARY CRANSTON, TASSOS
GIANAKAKOS, DAVID MEEKER, MARK
PERRY, KIM POPOVITS, and WENDY
YARNO

                     Defendants.


                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Robert

Farina hereby voluntarily dismisses the above-captioned action (the “Action”). Defendants have

filed neither an answer nor a motion for summary judgment in the Action.



Dated: December 2, 2020                                   Respectfully submitted,

                                                          By: /s/ Joshua M. Lifshitz
                                                          Joshua M. Lifshitz
                                                          Email: jml@jlclasslaw.com
                                                          LIFSHITZ LAW FIRM, P.C.
                                                          821 Franklin Avenue, Suite 209
                                                          Garden City, New York 11530
                                                          Telephone: (516) 493-9780
                                                          Facsimile: (516) 280-7376

                                                          Attorneys for Plaintiff
